                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF TENNESSEE
                                   AT NASHVILLE

JAMES SWAIN RIEVES, ET AL.,                         )
                                                    )
       Plaintiffs,                                  )
                                                    )
v.                                                  )       No. 3:18-cv-0965
                                                    )
TOWN OF SMYRNA, TENNESSEE, ET AL.,                  )       JURY TRIAL DEMANDED
                                                    )
       Defendants.                                  )


                              ORDER STAYING DISCOVERY

       This matter has come before the Court on the Parties’ Joint Motion to Stay Discovery

pending a ruling on appeal of the moving Defendants’ respective motions to dismiss on absolute

and qualified immunity grounds. The Court has considered the filings of the Parties and being

sufficiently advised, finds that this motion is well-taken and should be and hereby is GRANTED.

       Discovery in this matter, including initial disclosures pursuant to Fed. R. Civ. P. 26(a)(1)

and the filing of an Answer, is stayed pending resolution of moving Defendants’ defenses of

absolute and qualified immunity.

       It is so ORDERED.


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                                                     United States District Court Judge




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PREPARED FOR ENTRY:

NEAL & HARWELL, PLC

By:    /s/ Blind Akrawi
       William T. Ramsey, BPR #9245
       Blind Akrawi, BPR #023213
1201 Demonbreun Street, Suite 1000
Nashville, TN 37203
(615) 244-1713 – Telephone
(615) 726-0573 – Facsimile
wtr@nealharwell.com
bakrawi@nealharwell.com
Counsel for Defendant John Zimmermann

HUDSON, REED & MCCREARY, PLLC

By: __/s/ Nicolas Christiansen w/ perm. __
       Roger Hudson
       Nicholas C. Christiansen
Daniel W. Ames
16 Public Square North
P.O. Box 884
Murfreesboro, TN 37133
Counsel for Defendants Mike Fitzhugh and Rutherford County, Tennessee

TENNESSEE ATTORNEY GENERAL’S OFFICE

By: _/s/ Heather Ross w/ perm.__________
       Heather Cairns Ross
PO Box 20207
Nashville, TN 37202
Counsel for Defendant Jennings Jones


DAVID RANDOLPH SMITH & ASSOC.

By: _/s/ Christopher Smith w/ perm.________
       Christopher W. Smith
       David Randolph Smith
       Dominick R. Smith
       W. Lyon Chadwick, Jr.
David Randolph Smith & Associates
1913 2ist Ave. South
Nashville, TN 37212
Counsel for Plaintiffs

                                              2

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BRAZIL CLARK, PLLC
By: __/s/ Frank Brazil w/ perm.____
       Frank R. Brazil
       Wesley B. Clark
Brazil Clark, PLLC
2706 Larmon Avenue
Nashville, TN 37204
Counsel for Plaintiffs


HOWELL & FISHER, PLLC

By: _/s/ Robert Burns w/ perm.
       Robert M. Burns
       Austin C. Evans
Howell & Fisher, PLLC
Court Square Building
300 James Robertson Parkway #300
Nashville, TN 37201
Counsel for Defendants Town of Smyrna and Police Chief Kevin Arnold




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                               CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a true and correct copy of the foregoing was served

by the Court’s CM/ECF system on the following, on this the 23rd day of April, 2019:

HUDSON, REED & MCCREARY, PLLC

Roger Hudson
Nicholas C. Christiansen
Daniel W. Ames
16 Public Square North
P.O. Box 884
Murfreesboro, TN 37133
Counsel for Defendant Mike Fitzhugh and Defendant Rutherford County,
Tennessee

TENNESSEE ATTORNEY GENERAL

Heather Cairns Ross
Senior Counsel
Office of Tennessee Attorney General
PO Box 20207
Nashville, TN 37202
Counsel for Defendant Jennings Jones

DAVID RANDOLPH SMITH & ASSOC.

Christopher W. Smith
David Randolph Smith
Dominick R. Smith
W. Lyon Chadwick, Jr.
David Randolph Smith & Associates
1913 2ist Ave. South
Nashville, TN 37212
Counsel for Plaintiffs

BRAZIL CLARK, PLLC

Frank R. Brazil
Wesley B. Clark
Brazil Clark, PLLC
2706 Larmon Avenue
Nashville, TN 37204
Counsel for Plaintiffs



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HOWELL & FISHER, PLLC

Robert M. Burns
Austin C. Evans
Howell & Fisher, PLLC
Court Square Building
300 James Robertson Parkway #300
Nashville, TN 37201
Counsel for Defendants Town of Smyrna and Police Chief Kevin Arnold

                                              /s/ Blind Akrawi




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